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TNW Robinson, Demond
3. MAG. DKT.IDEF. NUMBER 4. DlST. DKT..'DEF. NUMBER 5. APPEALS DKT.mEF. NUMBER 6. OTHER DKT. NUMBER
2;03-020435-003 .M
7. lN CASE|'MATTER OF (Cnse Nlme) B. PAYMENT CATEGORY' /9. TYPE F'ERSON REPRESENTED li). %§£¥EZ‘SEI:€'I"¢;I`ION TYPE
'l'll rul o
U.S. v. Robinson Felony Adult Defendant Criminal Case
l l. OFFENSE(S) CH ARGED (Cite U.S. Co»de\ Title & Section) li'mol~e than one oll'elue. list top to Eve) major olt`cnses charged, according lo severity of offense. 4 L`A,
l) 18 l95i .F -- iNT ERFERENCE WITH COMMERCE BY THREAT OR VIOLENCE \,;<,~.J
/?A ’
ll A'l'i`URN EY'S NAME [First Nnme, M.l., Lasl Naut\e\ including lny sull'ix} 13. COURT ORDER 04 ,
AND MAlL[NG ADDRESS 0 Appninting Connsel i:] C Co~Counsei 6 WV'\
CHASTAIN, AUTUMN g F Suhs For l"ederal De|'ender Ei ll Suhs l"or Retained Artorney 0 / ‘\_
707 ADAMS AVENUE l:l P Suhs For Fanel Attorney |:| Y Stnndby Counsel C;,/ /\ ` g `»»`” 0
MEMPH!S TN 38103 P=*-"Mwmw'l ~-m=: §§ "; _ , 4,? 'o
Appointment Dnte: ;¢'€,l')", ' /'O ‘

  
 
 

l:L became the above-named penon represented has unified under oath or has '/././ "\
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W"l "‘ ' l 'lll lll 1 ll lpllllil'll°li la l'¢pnl¢l“ lhll P¢HOI'I il‘\ lhil ¢Il¢'

14. NAME .»\ND MAlLING ADDRESS OF LAW FlRM (only provide per lnstructions) or

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15. a. Arraignment and."or Plea
b. Bai| and Detention Hearings
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17. Travel Expenses (lodging, parking, meals. mileage. ecc.)
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lF OTHER THAN CASE COMPLETION
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Dther then from the court. have you. or loyour knowledge has anyone el.le, received payment (cornpenntion or anything or vnlue) from any other source in connection with this
representation‘! |:l YES |:i NO ll'yel, give detaill on additional sheete.

l swear or affirm the truth or correctness of the above smtement:.

 

             

MP. 2'.'. TOTAI.. AMT.APPR!CERT

25, TRAVEL EXPENSES 26. OTHER EXPENSES

  

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23. lN COURT CO 24. OUT OF COURT COMP.

  
 

 

 

 

 

 

18. SIGNATURE OF THE PRES|D|NG JUDlCIAL OFFlCER DATE 281 JUDGE f MAG. JUDGE CODE
29. lN COURT COMP. JO. OUT ClF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 53. 'l`0'l'»\l. AMT.A?PROVED
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Notice of Distribution

This notice confirms a copy of the document docketed as number 318 in
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